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AO 245B (Rcv. 12/03)(VAED rcv. 2) Sheet l - Judgment in a Crlmmal Casc

 

UNITED STATES DISTRICT COURT
Eastern District of Virginia
Richmond Division

UNITED STATES OF AMERICA
v. Case Number: 3:12MJOO228-001
CASE¥ J. KRUISE, USM Number: 80349-083
Defendant.

Defendant's Attorney: E|izabeth W. Hanes, Esq.

JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Counts l and 2 of the Criminal lnforrnation.

Accordingly, the defendant is adjudged guilty of the following counts involving the indicated offenses

Title and Seetion Nature of Offense Offense Class Offense Ended Count

32 C.F.R. Section 634.25({), Operation of a Motor Vehicle While In Petty May 30, 2012 l
assimilating the 1950 Code of Possession of an Open Container of

Virginia, as amended, Section A|cohol

18.2-323.1

32 C.F.R. Section 634.25(0, Driving on Fort Lee Alier lnstallation Petty May30, 2012 2
assimilating CASCOM and Driving Privi|eges Suspended
Fort Lee Regulation 190-

5(4)(d)

As pronounced on June 22nd, 2012, the defendant is sentenced as provided in pages 2 through 6 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

lt is ORDERED that the defendant shall notify the United States Attomey for this district within 30 days of any change
of name, residence, or mailing address until all tines, restitution, costs, and special assessments imposed by thisjudgment
are fully paid. lf ordered to pay restitution, the defendant must notify the court and United States Attomey of material
changes in economic circumstances

6/22/2012
Date of Imposition of .ludgment

/s/ §
David J. Novak

United Stales Magistrate Judge

 

June 22, 2012

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Sheet 6 - Schcdule of Payments

 

Case Number: 3:12MJ00228-00l
Defendant’s Name: KRUlSE, CASEY J.

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
The special assessment and fine shall be due during the term of supervised release in case number 3:12MJ()0138-001.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' lnmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Payments shall be applied in the following order: (l) assessment (2) restitution principal (3) restitution interest (4) fine

principal (5) fine interest (6) community restitution (7) penalties and (8) costs, including cost of prosecution and court
costs,

Nothing in the court's order shall prohibit the collection of anyjudgment, fine, or special assessment by the United States.

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Sheet 5 - Criminal Monetary Penalties

 

Case Number: 3:|21\¢|.]00228-001
Defendant’s Name: KRU|SE, CASEY J.

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

Count Assessment Fine Restitution

l $S .00 $25.00 $0.00

2 $5.00 $25.00 $0.00

TOTALS: $10.00 $50.00 $0.00
FINES

The defendant shall pay a fine of $25.00 on each of Counts l and 2 for a total fine of $50.00.

